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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

SECURITIES AND EXCHANGE
COl\/Il\/IISSION,

Plaintiff,
vs.

DIRECT LENDING INVESTMENTS,
LLC,

Defendant.

 

 

 

 

ease NO. 2:19-cv-2188 DSF(MRWX)

PRELIMINARY INJUNCTION
ORDER AND ORDER
APPOINTING PERMANENT
RECEIVER _ 7

 

 

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This matter came before the Court on the Stipulation Requesting Preliminary
Inj unction Order and Order Appointing Permanent Receiver_ filed by Plaintiff
Securities and Exchange Commission’s (“SEC”) and Defendant Direct Lending
Investments LLC (“DLI”). The SEC seeks an order preliminarily enjoining
defendant DLI from engaging in specified conduct; DLI has agreed to the requested
relief; and the parties jointly request appointment -of` permanent receiver over DLI.

The Court, having considered the SEC’s complaint and the parties’ Stipulation

Requesting Prelirninary Injunction Order and Order Appointing Permanent Receiver,

§ finds that:

A. T his Court has jurisdiction over the parties to, and the subject matter of,
this action, pursuant to Sections 20(b), 20(d)(1) and 22(a) of the
Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§ 77t(b), 77t(d)(1)
& 77v(a), and Sections 21(d)(1), 21(d)(3)_(A),721(e) and 27(a) of the
Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§
78u(d)(1), 78u(d)(3)(A), 778u(e) & 78aa(a), and Sections 209(d),
209(e)(1) and 214 of the Investment Advisers Act of 1940 (“Advisers

_ -Act”), 15 U.S.C. §§ 80b-9(d), 80b-9(e)(1) & 90b-14. j

B. Venue properly lies inthis district pursuant to Section 22(a) of the
Securities Act, 15 _U.S.C. § 77v(a), Section 27(a) of the Exchange Act,

15 U.S.C. § 78aa(a), and Section 214 of the Advisers' Act, 15 U.S.C. §
80b-14, because certain of the transactions, acts, practices and courses of
conduct constituting alleged violations of the federal securities laws
occurred Within this district In addition, venue is proper in this district '
because Defendant Direct Lending Investments LLC has its principal
place of business in this district. 7

C. Without admitting to any violations of federal law alleged in the SEC’s
action,_ DLI agrees that the SEC is able to make the requisite showing for
the requested relief pursuant to Section ZO(b) of the Securities Act of

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1933 [15 U.S.C. s 77t(b)], Section 21(d) of the Securities EXchange Act
of 1934[~15 U.S.C. § 78u(b)] and Section 209(d) of the Investment 7
Advisers Act of 1940 [15 U.S.C. § 80b-9(d)], in order to prevent
violations of federal securities laws during the pendency of the litigation
D. ' Good cause exists to appoint a Permanent Receiver over DLI.
. I. .
IT IS I-IEREBY ORDERED that the SEC’s and DLI’s Stipulation Requesting

Preliminary Injunction Order and Order Appointing Permanent Receiver is

GRANTED.

II. _
IT IS FURTHER ORDERED that Defendant DLI, and its officers, agents, '
servants, employees, attorneys, successors, subsidiaries and affiliates, and those
persons in active concert or participation with any of them, who receive actual notice

of this Order, by personal service or otherwise, and each of them, be and hereby are

l preliminarily restrained from, directly or -indirectly, in connection with the purchase

or sale of any security, by the use.of any means or instrumentality of interstate
commerce, or of the mails,- or of any facility of any national securities exchange:

A. employing any device, scheme or artifice to defraud;

B. making any untrue statement of material fact or to omit to state a
material fact necessary in order to make the statements made, in light of
the circumstances in which they were made, not materially misleading;

iand, b l
C. engaging in any act, practice, or course of business which operates or
would operate as a fraud or deceit upon any person; j
in violation of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rules 10b-
5 thereunder [17 C.F.R. §§ 240'.10b-5].
j 111.
IT IS FURTHER ORDERED that Defendant DLI, and its officers, agents,

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servants, employees, attorneys, suc'cessors, subsidiaries and affiliates, and those
persons in active concert or participation with any of them, who receive actual notice
of this Order, by personal service or otherwise, and each of them, be and hereby are
preliminarily restrained and enjoined from-, directly or indirectly, in the offer or sale
of any securities, by the use of any means or instruments of transportation or
communication in interstate commerce or by the use of the mails:

A. employing any device, scheme or artifice to defraud;

B. obtaining money or property by means of any untrue statement of a

material fact or any omission to state a material fact necessary in order to
` make the statements made, in light of the circumstances underwhich
they were made, not misleading; or ` `

C. engaging in any transaction, practice, or course of business which

operates or would operate as a fraud or deceit upon the purchaser;
in violation of Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a).
' ` _ Iv.

IT IS FURTHER ORDERED that Defendant DLI, and its officers, agents,
servants, employees, attorneys, successors, subsidiaries and affiliates, and those
persons in active concert or participation with any of them, who receive actual notice
of this Order, by personal service or otherwise, and each of them, be and hereby are
preliminarily restrained and enjoined from: j

A. employing any device, scheme or artifice to defraud any client or

prospective client; and 7
B. engaging in any transaction,' practice, or course of business which
operates or would operate as a fraud or deceit upon any client or
prospective client; v
in violation of Sections '206(1) and (_2) of the Advise_rs Act, 15 U.S.C. §§ 80b-6(1) &
80b-6(2).

 

 

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V.

IT IS FURTHER ORDERED that Defendant DLI, and its_officers, agents,
servants, employees, attorneys, subsidiaries and affiliates, and those persons in active
concert or participation with any of them, who receive actual notice of this Order, by
personal-service or otherwise, and each of them, be and hereby are preliminarily
restrained and enjoined from willfully making any untrue statement of a material
fact in any registration application or-r_eport filed with the SEC under 15 U.S.C. §
80b-3 or 15 U.S.C. § 80b-4, or willfully omitting to state in any such application or
report any material fact which is required to'be stated therein, in violation of Section
207 of the Advisers Act, 15 U.S.C. § 80b-7.'

, ' vI. _

IT Is FURTHER oRDERED_ that Bradiey D. sharp of Development_
Specialists, Inc. is appointed to serve as permanent receiver for the estate of DLI,
Direct Lending Income Fund, L.P., Direct Lending Income Feeder Fund, Ltd., D_LI
Capital, Inc., DLI Lending Agent, LLC, and DLI Assets Bravo, LLC and their
successors, subsidiaries and affiliated entities (the “Receivership Entity”), with full
powers of an equity receiver, including, but not limited to, full power over all funds,
assets, collateral, premises (whether owned, leased, occupied, or otherwise 7
controlled), choses in action, books, records, papers and other property belonging to,'
being managed by or in the possession of or control of the Receivership Entity and
that such receiver is immediately authorized, empowered and directed:

A. to have access to and to collect and take custody, control, possession,
and charge of all funds, assets, collateral, premises (whether owned, leased, occupied,
or otherwise controlled), choses in action, books, records, personal computers, papers
and other real or personal property, wherever located, of or managed by the
Receivership Entity, with full power to sue, foreclose, marshal, collect, receive,' and
take into possession all such property (including access to and taking custody, l

control, and possession of all property of the Receivership Entity property;

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B. to have control of, and to be added as the sole authorized signatory for, _
all accounts of the Receivership Entity, including all accounts at any bank, title _
company, escrow agent, financial institution or brokerage firm (including any futures
commission merchant) which has possession, custody or control of any assets or
funds of the Receivership'Entity, or which maintains accounts over which the
Receivership Entity, and/or any of its employees or agents have signatory authority;

C. to conduct such investigation and discovery as may be necessary to
locate and account for all of the'assets of or managed by the Receivership Entity, and
to engage and employ attorneys, accountants and other persons to assist in such
investigation and discovery; ' .

D. to take such action as is necessary and appropriate to preserve and take
control of and to prevent the dissipation, concealment, or disposition of any assets of
or managed by the Receivership Entity; '

E. to make an accounting, as soon as practicable, to this Court and the SEC

of the assets and financial condition of the Receivership Entity, and to file the

j accounting with the Court and deliver copies thereof to all parties;

F. to make such payments and disbursements from the funds and assets
taken into custody, control, and possession_or thereafter received by her, and to incur,
or authorize the making of, such agreements as may be necessary and advisable in
discharging her duties as permanent receiver; '

G. to employ attorneys, accountants, and others to investigate and, where
appropriate, to institute, pursue, prosecute and defend all claims and causes of action
of whatever kind and nature which may now or hereafter exist as a result of the
activities of present or past employees or agents of the Receivership Entity; and

H. to have access to and monitor all mail, electronic mail', and Video phone
of the Receivership Entity in order to review such mail, electronic mail, and video
phone which he deems relates to its business and the discharging of her duties as

permanent receiver.

 

 

 

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VII.

IT IS FURTHER ORDERED that the Receivership Entity and its officers,
agents, servants, employees and attorneys, and any other persons who are in custody, , ,
possession or control of any assets, collateral, books, personal computers, records,
papers or other property of or managed by any of the entities in receivership, shall 7
forthwith give access to and control of such property to the permanent receiver.

_ vIII. `

IT IS FURTHER ORDERED that no officer, agent, servant, employee or
attorney of the Receivership Entity shall take any action or purport to take any action,
in the name of or. on behalf of the Receivership Entity without the written consent of
the permanent receiver or order of this Court. n

IX. _

IT IS FURTHER ORDERED that, except by leave of this Court, during the
pendency of thisjreceivership, all clients, investors, trust beneficiaries, note holders,
creditors, claimants, lessors and all other persons or entities seeking relief of any
kind, in law or in equity, from the Receivership Entity and its past or present agents
and representatives, and all persons acting on behalf of any such investor, trust
beneficiary, note holder, creditor, claimant, lessor, consultant group or other person,
including sheriffs, marshals, servants, agents, employees and attorneys, are hereby
restrained and enjoined from, directly or indirectly, with respect to these persons and
entities: v

A. commencing, prosecuting, continuing or enforcing any suit or
proceeding (other than the present action by the SEC or any other action by the
government) against any of them;_

B. using self- -help or executing or issuing or causing the execution or
issuance of any court attachment, subpoena, replevin, execution or other process for
the purpose of impounding or taking possession of ,or interfering with ,or creating or

enforcing a lien upon or take any action impairing any property or property interests

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owned by or in the possession of the Receivership Entity, and its past or present
agents and representatives ; and

C'. doing any act or thing whatsoever to interfere with taking control,
possession or management by the permanent receiver appointed hereunder of the
property and assets owned, controlled or managed by or in the possession of the
Receivership Entity and its past or present agents or representatives, or in any way to
interfere with or harass the permanent receiver or her attorneys, accountants,
employees, or agents or to interfere in any manner with the discharge of the
permanent receiver’s duties and responsibilities hereunder.

X. '

IT IS FURTHER ORDERED that the Receivership Entity, and its officers,
agents, servants,. employees and attorneys, shall cooperate with and assist the
permanent receiver and shall take no action, directly or indirectly, to hinder, obstruct,
or otherwise interfere with the permanent receiver or his or her attorneys,
accountants, employees or agents, in the conduct of the permanent receiver’s duties
or to interfere in any manner, directly or indirectly, with the custody, possession,
management, or control by the permanent receiver of the funds, assets, collateral,
premises, and choses in action described above.

XI. ,

IT IS FURTI-IER ORDERED that the Receivership Entity shall pay the costs,
fees and expenses of the'permanent receiver incurred in connection with the
performance of her duties described in this Order, including the costs and expenses of
those persons who may be engaged or employed by the permanent receiver to assist
her 1n carrying out her duties and obligations. All applications for costs, fees, and
expenses for services rendered 1n connection with the receivership other than routine
and necessary business expenses in conducting the receivership, such as salaries, rent,
and any and all other reasonable operating expenses,7 shall be made by application

setting forth in reasonable detail the nature of the services and shall be heard by the

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Court.
, . XII.

IT IS FURTHER ORDERED that no bond shall be required in connection with
the appointment of the permanent receiver. Except for an act of gross negligence, the
permanent receiver '(and those agents working within the scope of the.receiver’s
direction) shall not be liable for,any loss or damage incurred by any of the
defendants, their officers, agents, servants, employees and attorneys or any other
person, by reason of any act directed, performed or omitted to be performed by the
permanent receiver in connection with`the discharge of his or her duties and
responsibilities 7

XIII. 7

IT IS FURTHER ORDERED that representatives of the SEC and any other
government agency are authorized to have continuing access to inspect or copy any`
or all of the non-privileged corporate books and records and other documents of then
Receivership Entity and continuing access to inspect its funds, property, assets and
collateral, wherever located.

_ _ XIV.
IT IS FURTHER ORDERED that this Court shall retain jurisdiction over this

` action for the purpose of implementing and carrying out the terms of all orders and

decrees which may be entered herein and to entertain any suitable application or

motion for additional relief within the jurisdiction of this Court.

IT IS SO ORDERED

 

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HoNoRABLE DALE s. FISHER `
UNITED sTATEs DISTRICT JUDGE

Dated: April 1, 2019

 

Presented by:

Amy J. Longo

L n_n M. Dean

C lstopher A. Nowlin -
Attorne_ys for Plalntiff 9
Secur1t1es and Exchange Commission

 

 

